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                            Cleveland, Ohio
                             Attendance List

Firm                                             Full Name
Anapol Weiss                                     Thomas Anapol
Anapol Weiss                                     David Senoff
Andrews Thornton Higgins Razmara                 Anne Andrews
Andrews Thornton Higgins Razmara                 Bradley East
Andrews Thornton Higgins Razmara                 Lila Razmara
Andrews Thornton Higgins Razmara                 John Thornton
Andrus Anderson                                  Jennie Anderson
Bailey Javins & Carter                           Lee Javins
Baron Budd                                       Russell Budd
Baron Budd                                       Roland Ellis
Baron Budd                                       Burton LeBlanc
Barrett Law Group                                Don Barrett
Beasley Allen                                    Rhon Jones
Beasley Allen                                    Gibson Vance
Bern & Partners                                  Joe Cappelli
Blasingame Burch Garrard Ashley PC               Thomas Hollingsworth
Bonsignore LLC                                   Robert Bonsignore
Branstetter Stranch & Jennings                   Gerard Stranch
Brian K Balser Co LPA                            Brian Balser
Carella Byrne                                    Jim Cecchi
Carpenter Lipps & Leland LLP                     David Barthel
Carpenter Lipps & Leland LLP                     Timothy Bricker
Carson Law Firm                                  James DeRoche
Cates Mahoney                                    David Cates
Clifford Law Offices                             Rich Burke
Clifford Law Offices                             Shannon McNulty
Climaco Wilcox Peca & Garofoli                   John Climaco
Cochran Firm                                     Michael Wright

Cohen & Malad, LLP                               Jeff Gibson

Cohen & Malad, LLP                               Irwin Levin
Cohen & Malad, LLP                               Lynn Toops
Cooper Law Firm                                  Barry Cooper

Cooper Law Firm                                  Stuart Smith
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Crueger Dickinson LLC                             Charles Crueger
Crueger Dickinson LLC                             Erin Dickinson
Cuneo Gilbert & LaDuca                            Jon Cuneo

Czack Law Firm                                    Michael Czack

DiCello Levitt & Casey                            Mark DiCello

Ditrapano Barrett DiPiereo McGinley & Simmons     Rob Bastress
Ditrapano Barrett DiPiereo McGinley & Simmons     Sean McGinley

Douglas & London                                  Michael London

Dugan Law Firm                                    Bonnie Kendrick

Fears Nachawati                                   Matthew McCarley

Ferraro Law                                       James Ferraro

Ferrer Poirot Wansbrough                          Matt Daniel

Fibich Leebron Copeland Briggs                    Tommy Fibich
Frank Dudenhefer Law Office                       Frank Dudenhefer
Frazer PLC                                        Roe Frazer
Fulmer Sill                                       Jim Sill
Gallagher Law Firm                                Michael Gallagher

Garson Jonson                                     Stuart Garson
Gibbs Law Group                                   AJ de Bartolomeo
Glago Law firm                                    Mark Glago
Goldenberg Heller & Antognoli P.C.                Ann Callis
Goldenberg Heller & Antognoli P.C.                Thomas Lech



Greene Ketchum Farrell Bailey & Tweel             Paul Farrell
Gustafson Gluek PLLC                              Amanda Williams
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Hagens Berman Sobol Shapiro                         Jennifer Connolly



Hagens Berman Sobol Shapiro                         Thomas Sobol



Hill Peterson Carper Bee & Deitzler                 Aaron Harrah



Hill Peterson Carper Bee & Deitzler                 Edison Hill
Hill Peterson Carper Bee & Deitzler                 James Peterson
Hill Peterson Carper Bee & Deitzler                 Jim Peterson
Hissey Kientz, LLP                                  David Friend

Hissey Kientz, LLP                                  Michael Hissey
Hissey Kientz, LLP                                  Shamus Mulderig
Holland Law Firm                                    Eric Holland
Isaac Wiles Burkholder & Teetor                     Shawn Judge
Kalish Law Firm                                     Scott Kalish
Karon LLC                                           Daniel Karon
Keller Rohrback                                     Derek Loeser
Keller Rohrback                                     Lynn Sarko
Kelley & Ferraro                                    John Murphy
Kelley Goldfarb Huck Roth & Riojas                  Christopher Huck
Kopelowitz Ostrow Ferguson Weiselberg Gilbert       Robert Gilbert
Kushner Hamed                                       Phil Kushner
Laborde Earles                                      Derrick "Digger" Earles
Laborde Earles                                      David Laborde
Levin Papantonio Thomas Mitchell Rafferty Proctor   Peter Mougey
Levin Papantonio Thomas Mitchell Rafferty Proctor   Mike Papantonio

Levin Papantonio Thomas Mitchell Rafferty Proctor   Troy Rafferty

Lieff Cabraser                                      Elizabeth Cabraser

Lieff Cabraser                                      Mark Chalos
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Lieff Cabraser                                    Paulina doAmaral

Lockridge Grindal Nauen PLLP                      Yvonne Flaherty
McHugh Fuller                                     Mike Fuller

Meyers & Flowers                                  Pete Flowers



Mike Moore Law Firm                               Mike Moore

Morgan & Morgan                                   Keith Mitnik

Morgan & Morgan                                   Greg Stumbo

Morgan & Morgan                                   John Yanchunis

Morgan & Morgan                                   James Young

Motley Rice, LLC                                  Lane Andrae

Motley Rice, LLC                                  John Herrick
Motley Rice, LLC                                  Joe Rice

Motley Rice, LLC                                  Linda Singer

Motley Rice, LLC                                  Benee Wallace

Napoli Shkolnik PLLC                              Joe Ciaccio

Napoli Shkolnik PLLC                              Marie Napoli
Napoli Shkolnik PLLC                              Paul Napoli

Napoli Shkolnik PLLC                              Hunter Shkolnik
Nurenberg Plevin                                  Jamie Lebovitz
Of Counsel Sanders Phillips Grossman              John Restaino
Plevin & Gallucci                                 Frank Gallucci
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Pogust Braslow & Millrood                         Harris Pogust
Prince Law Firm                                   Mark Prince
Robbins Geller Rudman & Dowd                      Aelish Baig

Robbins Geller Rudman & Dowd                      Mark Dearman

Robbins Geller Rudman & Dowd                      Paul Geller



Robins Kaplan LLP                                 Tara Sutton

Sanders Phillips Grossman, LLC                    Victoria Maniatis
Searcy Denney Scarola Barnhart & Shipley          Brenda Fulmer
Seeger Weiss                                      Chris Seeger
Seif & McNamee                                    Dale Seif

Simmons Hanly Conroy                              Jayne Conroy

Simmons Hanly Conroy                              Paul Hanly
Simon Greenstone Panatier Bartlett                Jeffrey Simon
Skikos Crawford Skikos & Joseph                   Mark Crawford
Skikos Crawford Skikos & Joseph                   Jane Joseph

Skikos Crawford Skikos & Joseph                   Steve Skikos
Skinner Law Firm                                  Laura Davis
Spangenberg Shibley & Liber                       Nicholas DiCello
Spangenberg Shibley & Liber                       Stuart Scott
Spangenberg Shibley & Liber                       Dustin Herman
Spangenberg Shibley & Liber                       William Hawal
Spangenberg Shibley & Liber                       Peter Brodhead
Spangenberg Shibley & Liber                       Jeremy Tor
Spangenberg Shibley & Liber                       Pete Weinberger
Stewart Bell PLLC                                 Harry Bell
Taft Stettinius & Hollister                       David Butler
Taylor Martino                                    Richard Taylor
The Bruehl Law Firm                               Curtis Bruehl
The Czack Law Firm                                Mike Czack
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The Lanier Law Firm                               Mark Lanier
The Lanier Law Firm                               Rick Meadow
Thrash Law Firm                                   Marcus Bozeman

Troy Law Firm PLLC                                Mark Troy
Wagstaff & Cartmell LLP                           Tom Cartmell
Wagstaff & Cartmell LLP                           Eric Barton
Wapner Newman Wigrizer Brecher & Miller           Steven Wigrizer
Warren McGraw Law Firm                            Randolph McGraw
Watts Guerra LLP                                  Mikal Watts
Watts Guerra LLP

Webb Law Centre LLP                               Rusty Webb
Weisman Kennedy & Berris                          Dan Goetz
Weisman Kennedy & Berris                          Eric Kennedy
Wexler Wallace LLP                                Ed Wallace
Wexler Wallace LLP                                Ken Wexler
Wolf Popper LLP                                   Matthew Insley-Pruitt
Wooton Davis Hussell Ellis                        Chris Davis

Young & Partners                                  Tom Young
Zarzaur Mujumdar & Debrosse                       Julie Zimmerman

Zoll & Kranz                                      Michelle Kranz
